Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20    PageID.1   Page 1 of 22



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DV DIAMOND CLUB OF FLINT, LLC
d/b/a Little Darlings,

       Plaintiffs,                          Case No.
                                            Hon.
v.

UNITED STATES SMALL BUSINESS
ADMINISTRATION; JOVITA
CARRANZA, in her Official Capacity
as Administrator of the Small Business
Administration; UNITED STATES OF
AMERICA; and STEVEN MNUCHIN,
in his Official Capacity as United States
Secretary of Treasury,

      Defendants.
__________________________________________________________________
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Matthew J. Hoffer (P70495)
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Attorneys for Plaintiff
DV Diamond Club of Flint, LLC
__________________________________________________________________


         PLAINTIFF’S VERIFIED COMPLAINT FOR EMERGENCY
        TEMPORARY RESTRAINING ORDER, PRELIMINARY AND
     PERMANENT INJUNCTIVE RELIEF, AND DECLARATORY RELIEF
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20           PageID.2     Page 2 of 22




      NOW COMES Plaintiff DV Diamond Club of Flint, LLC, and for its

complaint, hereby states the following.

                                 INTRODUCTION

      1.     This is a civil action wherein Plaintiff seeks injunctive relief to restrain

Defendants from discriminating against workers who are entitled to benefit from the

Paycheck Protection Program (“PPP”) provisions of the recently-enacted

Coronavirus, Aid, Relief, and Economic Security Act, Pub. L. No. 116-136 §§ 1101-

03, 1107, 1114 (2020) (the “CARES Act”). The PPP is designed to quickly provide

emergency relief to workers and businesses affected by the current COVID-19

pandemic following the President of the United States declaring a national

emergency.    However, the emergency regulations promulgated by the Small

Business Administration to implement the PPP, which in part adopt existing

regulations formulated to implement narrower existing loan programs, improperly

and unconstitutionally limit benefits to businesses and workers unquestionably

engaged in First Amendment protected expression. The regulations and operating

procedures, described more specifically below, conflict with the text of the PPP and

violate business and workers’ fundamental rights under the First and Fifth

Amendments of the United States Constitution, among others.



                                           2
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20           PageID.3    Page 3 of 22




      2.     Because the funding of the PPP is to occur on a first-come-first-serve

basis until the fund is depleted, Plaintiff brings this action on an emergency basis

and will seek Temporary Restraining Order to prevent irreparable injury to its

workers, its business, the entertainers who perform on its premises, and all their

constitutional rights.

                         JURISDICTION AND VENUE

      3.     Jurisdiction is conferred on this Court for the resolution of the

substantial constitutional questions presented here by virtue of 28 U.S.C. § 1331; 28

U.S.C. § 1343(a)(1), (3), (4); 28 U.S.C. § 1346(a)(2); and 28 U.S.C. § 1361.

      4.     Authority for judicial review of agency action is further provided by 5

U.S.C. § 702, which states:

      A person suffering legal wrong because of agency action, or adversely
      affected or aggrieved by agency action within the meaning of a relevant
      statute, is entitled to judicial review thereof. An action in a court of the
      United States seeking relief other than money damages and stating a
      claim that an agency or an officer or employee thereof acted or failed
      to act in an official capacity or under color of legal authority shall not
      be dismissed nor relief therein be denied on the ground that it is against
      the United States or that the United States is an indispensable party. The
      United States may be named as a defendant in any such action, and a
      judgment or decree may be entered against the United States: Provided,
      That any mandatory or injunctive decree shall specify the Federal
      officer or officers (by name or by title), and their successors in office,
      personally responsible for compliance. Nothing herein (1) affects other
      limitations on judicial review or the power or duty of the court to
                                           3
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20            PageID.4   Page 4 of 22




      dismiss any action or deny relief on any other appropriate legal or
      equitable ground; or (2) confers authority to grant relief if any other
      statute that grants consent to suit expressly or impliedly forbids the
      relief which is sought.

      5.     The prayer for declaratory relief is founded in part on Rule 57 of the

Federal Rules of Civil Procedure as well as 28 U.S.C. § 2201, the latter of which

provides that:

      “. . . any court of the United States, upon the filing of an appropriate
      pleading, may declare the rights and other legal relations of any
      interested party seeking such declaration, whether or not further relief
      is or could be sought. . . .”

      6.     The jurisdiction of the Court to grant injunctive relief is conferred upon

this Court by Rule 65 of the Federal Rules of Civil Procedure, and by 28 U.S.C. §

2202, the latter of which provides:

      “Further necessary or proper relief on a declaratory judgment or decree
      may be granted, after reasonable notice and hearing, against any
      adverse party whose rights have been determined by such judgment.”

      7.     No other action, civil or criminal, is pending in any state court involving

the Plaintiffs regarding the activities and events at issue here.

      8.     This suit is authorized by law to redress deprivations of rights,

privileges, and immunities secured by the First and Fifth Amendments to the United

States Constitution, and for declaratory and injunctive relief.

                                           4
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20           PageID.5    Page 5 of 22




      9.     Venue in this Court is appropriate as the Plaintiff is located in the

Eastern District of Michigan; it has applied for a loan within the Eastern District; the

Small Business Administration and the Treasury Department operate in the Eastern

District; and the injury complained of and acts causing that injury have occurred and

will continue to occur in the Eastern District of Michigan.

                                      PARTIES

      10.    DV Diamond Club of Flint, LLC (“DV” or just “Plaintiff”) is a

Michigan Limited Liability Company duly organized and authorized to conduct

business in the State of Michigan. DV does business as Little Darlings at 2341 South

Dort Highway in Flint, Michigan, which is located in Genesee County, State of

Michigan.

      11.    Defendant United States Small Business Administration (the “SBA”) is

an independent federal agency created and authorized pursuant to 15 U.S.C. § 633,

et seq. The SBA maintains a branch office at 477 Michigan Avenue, Suite 1819,

McNamara Building, Detroit, Michigan, which is within the Eastern District of

Michigan.




                                           5
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20          PageID.6    Page 6 of 22




      12.     Defendant Jovita Carranza (“Carranza,” or the “Administrator”) is the

Administrator of the SBA, a Cabinet-level position, and is sued in her official

capacity only, as the Administrator of the SBA.

      13.     Authority to sue the Administrator is granted by 15 U.S.C. § 634(b),

which states, in part:

      In the performance of, and with respect to, the functions, powers, and
      duties vested in him by this chapter the Administrator may—

      (1) sue and be sued in any court of record of a State having general
      jurisdiction, or in any United States district court, and jurisdiction is
      conferred upon such district court to determine such controversies
      without regard to the amount in controversy . . . .

      14.     Steven Mnuchin (the “Secretary”) is the Secretary of the Treasury

Department (the “Treasury”) of the United States of America, and is sued in his

official capacity only as the Secretary of the Treasury Department.

      15.     Defendant currently does not seek monetary relief, and seeks only to

restrain the actions of the Administrator and the Secretary in each of their official

capacities.

      16.     The United States of America is a sovereign nation dedicated to the

protection of life, liberty, and property, as set forth in the Bill of Rights and other

provisions and amendments to the Constitution of the United States of America.
                                           6
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20           PageID.7   Page 7 of 22




                    RELEVANT STATUTORY PROVISIONS
                    AND ADMINISTRATIVE REGULATIONS

      17.    The CARES Act was signed into law by the President of the United

States on March 28, 2020, and is currently in effect.

      18.    A true and accurate copy of the Paycheck Protection Program (the

“PPP”) provisions of the CARES Act is attached hereto as Exhibit A and hereby

incorporated by reference as though fully set forth herein.

      19.    The PPP provisions of the CARES Act instruct the SBA to promulgate

rules as follows:

      SEC. 1114. EMERGENCY RULEMAKING AUTHORITY.

      Not later than 15 days after the date of the enactment of this Act, the
      Administrator shall issue regulations to carry out this title and the
      amendments made by this title without regard to the notice
      requirements under section 553(b) of title 5, Unites States Code.

      20.    The CARES Act specifically tasks the SBA with administering the

PPP. The PPP further provides at 15 U.S.C. § 636(a)(36)(F)(ii):

      Delegated authority

      (I) In general
      For purposes of making covered loans for the purposes described in
      clause (i), a lender approved to make loans under this subsection shall
      be deemed to have been delegated authority by the Administrator to


                                          7
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20         PageID.8    Page 8 of 22




      make and approve covered loans, subject to the provisions of this
      paragraph.

      (II) Considerations
      In evaluating the eligibility of a borrower for a covered loan with the
      terms described in this paragraph, a lender shall consider whether the
      borrower--
      (aa) was in operation on February 15, 2020; and
      (bb)(AA) had employees for whom the borrower paid salaries and
      payroll taxes; or
      (BB) paid independent contractors, as reported on a Form 1099-MISC.

      (iii) Additional lenders
      The authority to make loans under this paragraph shall be extended to
      additional lenders determined by the Administrator and the Secretary
      of the Treasury to have the necessary qualifications to process, close,
      disburse and service loans made with the guarantee of the
      Administration.

      21.   Pursuant to the PPP, the SBA did, in fact, promulgate regulations on

April 1, 2020. A true and accurate copy of Business Loan Program Temporary

Changes; Paycheck Protection Program, RIN 3245-AH34 (Interim Final Rule Apr.

1, 2020) (the “SBA 3245”), as promulgated by the SBA, is attached hereto as

Exhibit B and hereby incorporated by reference as though fully set forth herein.

      22.   SBA 3245 provides, in part:

      Businesses that are not eligible for PPP loans are identified in 13 CFR 120.110
      and described further in SBA’s Standard Operating Procedure (SOP) 50 10,
      Subpart B, Chapter 2, except that nonprofit organizations authorized under the
      Act    are     eligible.     (SOP      50     10      can     be     found    at


                                          8
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20         PageID.9   Page 9 of 22




      https://www.sba.gov/document/sop-50-10-5-lender-development-company-
      loan-programs.)

      23.    SBA 3245 further provides that PPP loans with be provided on a first-

come, first-served basis until funds are exhausted. [See Ex. B, p.13]. The PPP has

a total monetary limit of $349,000,000,000.00 ($349 Billion).

      24.    A true and accurate copy of Business Loan Program, 60 Fed. Reg.

64356 et seq. (proposed Dec. 15, 1995; to be codified at 13 C.F.R. § 120.110), as

promulgated by the SBA, is attached hereto as Exhibit C and hereby incorporated

by reference as though fully set forth herein.

      25.    A true and accurate copy of SBA Business Loan Ineligible Businesses

Rule, 13 C.F.R § 120.110 (2020), as actually enacted, is attached hereto as Exhibit

D and hereby incorporated by reference as though fully set forth herein.

      26.    13 C.F.R § 120.110 provides, in part:

      The following types of Businesses are ineligible:

                                   *      *      *
      (p) Businesses which:

             (1) Present live performances of a prurient sexual nature; or

             (2) Derive directly or indirectly more than de minimis gross
             revenue through the sale of products or services, or the


                                          9
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20         PageID.10     Page 10 of 22




             presentation of any depiction or display, of a prurient sexual
             nature;

These provisions are hereinafter referred to simply as the “Regulations.”

      27.    A true and accurate copy of SBA Standard Operating Procedure 50 10

5(K) – Lender and Development Company Loan Programs (Apr. 1, 2019), is

attached hereto as Exhibit E and hereby incorporated by reference as though fully

set forth herein.

      28.    The SBA Standard Operating Procedure 50 10 5(K) – Lender and

Development Company Loan Programs (Apr. 1, 2019) provides, in part, at Ch.2

(III)(A):

      15. Businesses Providing Prurient Sexual Material (13 CFR § 120.110
      (p))
            a. A business is not eligible for SBA assistance if:

                    i. It presents live or recorded performances of a prurient
                    sexual nature; or

                    ii. It derives more than 5% of its gross revenue, directly or
                    indirectly, through the sale of products, services or the
                    presentation of any depictions or displays of a prurient
                    sexual nature.

             b. SBA has determined that financing lawful activities of a
             prurient sexual nature is not in the public interest. The Lender
             must consider whether the nature and extent of the sexual
             component causes the business activity to be prurient.


                                          10
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20          PageID.11   Page 11 of 22




             c. If a Lender finds that the Applicant may have a business aspect
             of a prurient sexual nature, prior to submitting an application to
             the LGPC (non-delegated) or requesting a loan number
             (delegated), the Lender must document and submit the analysis
             and supporting documentation to the Associate General Counsel
             for Litigation at PSMReview@sba.gov for a final Agency
             decision on eligibility. Upon approval by SBA, the Lender may
             submit the application to the LGPC or may proceed to process
             the loan under its delegated authority. A non-delegated Lender
             must submit a copy of SBA’s approval with the application to
             the LGPC. A delegated Lender must retain its analysis,
             supporting documentation, and evidence of SBA’s approval in
             its loan file and must submit the analysis and supporting
             documentation to SBA with any request for guaranty purchase.
             SBA also may review such documentation when conducting
             Lender oversight activities.

These provisions are hereinafter referred to as the “SOP.”

      29.    Defendant SBA is responsible for formulating, issuing, and enforcing

the Regulations and the SOP.

      30.    A true and accurate exemplar copy of the SBA Paycheck Protection

Program Borrower Application Form 2483 (Apr. 2020) is attached hereto as Exhibit

F, and hereby incorporated by reference as though fully set forth herein.

      31.    A true and accurate copy of the Hancock Whitney Bank Paycheck

Protection Program Supplemental Information Form (current as of Apr. 5, 2020) is

attached hereto as Exhibit G and hereby incorporated by reference as though fully

set forth herein.
                                         11
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20          PageID.12    Page 12 of 22




      32.    The First Amendment to the Unites States Constitution reads:

      Congress shall make no law respecting an establishment of religion, or
      prohibiting the free exercise thereof; or abridging the freedom of
      speech, or of the press, or the right of the people peaceably to assemble,
      and to petition the Government for a redress of grievances.

      33.    The Fifth Amendment to the United States Constitution reads:

      No person shall be held to answer for a capital, or otherwise infamous
      crime, unless on a presentment or indictment of a grand jury, except in
      cases arising in the land or naval forces, or in the militia, when in actual
      service in time of war or public danger; nor shall any person be subject
      for the same offense to be twice put in jeopardy of life or limb; nor shall
      be compelled in any criminal case to be a witness against himself, nor
      be deprived of life, liberty, or property, without due process of law; nor
      shall private property be taken for public use, without just
      compensation.

                             STATEMENT OF FACTS

      34.    DV is an alcohol-serving establishment open to the consenting adult

public which is in the business of, has presented, and desires to continue to present

in the future, male and female performance dance entertainment which is fully

clothed and, at times for the female entertainers, topless. All of the entertainment

provided by DV is non-obscene, appeals to healthy human interests and desires, and

is in full compliance with the numerous licenses and permits held by DV.




                                          12
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20         PageID.13   Page 13 of 22




      35.    None of the live performances at DV are unlawful or obscene. Neither

DV nor any of the entertainers who have performed on its premises have ever been

charged, let alone convicted, of any crimes of obscenity.

      36.    DV duly holds a Class C Liquor License issued by the Michigan Liquor

Control Commission, with permits for Sunday Sales, Additional Bar and Specially

Designated Merchant, and DV presents lawful entertainment in conformity

therewith.

      37.    DV duly holds a business license to present “Adult Entertainment”

issued by the City of Flint, Michigan, and DV presents lawful entertainment in

conformity therewith.

      38.    DV duly holds a business license with a “dance permit” issues by the

City of Flint Michigan, and DV presents lawful entertainment in conformity

therewith.

      39.    DV is currently shuttered as a result of the emergency “shelter-in-

place” executive order (Executive Order 2020-21) issued by the Governor of

Michigan as a result of the COVID-19 pandemic. As a direct and proximate result

of such state-ordered closure, DV has suffered significant business losses, but plans

to reopen when legally permitted to do so.    DV has been closed for business since

                                         13
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20       PageID.14    Page 14 of 22




at least 12:01am on March 24, 2020, and remains closed as of the date of this

complaint is filed.

      40.    In order to mitigate its business losses and to provide monetary relief

to its employees – since at least 75% of PPP loans are to be used for employee wages

and salaries, DV sought out to apply for a PPP loan.

      41.    On or about April 6, 2020, DV submitted an application for a PPP loan

through Oxford Bank, and specifically though its branch located at 1115 S. Lapeer

Road, Lake Orion, State of Michigan; that being within the Eastern District of

Michigan. Oxford Bank is an approved SBA Lender. A true and accurate copy of

DV’s PPP loan application to Oxford Bank (the “Application”) is attached hereto as

Exhibit H and is incorporated by reference as though fully set forth herein.

      42.    Pursuant to 15 U.S.C. § 636(a)(36)(F)(ii)(I), Oxford Bank is and will

operate as a delegate of the SBA in the processing and approval or disapproval of

the PPP loan sought by DV.

      43.    DV is fully qualified -- but for the Regulations and the SOP or the

SBA’s application thereof -- to receive a PPP loan under all relevant statutes,

regulations, and procedures. However, DV reasonably believes that its Application

will be rejected or fatally delayed due to the SOP and/or the Regulations.
                                         14
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20        PageID.15    Page 15 of 22




      44.    DV has learned that numerous other similar businesses, which

presented non-obscene female performance dance entertainment of an “exotic,”

“topless” and/or fully nude variety have had their applications for PPP loans rejected

by their SBA lending banks, or derailed, on their bank’s belief that the business is

disqualified by the Regulations and/or the SOP. Specifically, DV has learned that

other similar establishments have had their applications for PPP loans rejected on

the belief that the clubs present “live performances of a prurient sexual nature”

within the meaning of 13 C.F.R. § 120.110(p). DV reasonably fears its Application

will suffer the same fate as the applications of these other businesses which have had

their applications denied.

      45.    DV also fears that the Regulations and the SOP will cause its

Application to be delayed until all PPP loan funds are exhausted; therefore

potentially rendering any later request for judicial relief to be moot. The funds

allocated for PPP loans are to be extended on a first-come, first-served, basis until

all funds are exhausted, and no further funds are currently available. The SOP

provides that if the “Lender finds that the Applicant may have a business aspect of

a prurient sexual nature” the lender is to email the SBA for a “final Agency decision

on eligibility.” Given the pressures and workload placed on the SBA by the CARES

Act and the COVID-19 pandemic, DV reasonably fears either that no agency
                                         15
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20          PageID.16    Page 16 of 22




decision will be forthcoming while PPP funds remain, or that the SBA will decide

that DV is not eligible with no time for it to obtain relief while PPP funds remain.

      46.    In the event that DV is unable to obtain PPP loan it may lack the staff

and/or funds to reopen following the COVID-19 pandemic, resulting in the

permanent ruination of its business; the inability of DV to engaged in protected First

Amendment activity; and the inability to DV’s staff, entertainers, and customers to

continue engaging in or viewing protected First Amendment activity.

    COUNT I – THE REGULATIONS AND SOP VIOLATE THE FIRST
                        AMENDMENT

      47.    Plaintiff incorporates herein by reference each and every paragraph

above as though fully set forth herein.

      48.    In asserting its First Amendment challenges to the Regulations and

SOP, Plaintiff asserts not only its own rights but also the rights of its employees, and

the entertainers who perform on its premises.

      49.    The Regulations and the SOP violate and are contrary to the First

Amendment of the United States Constitution, on their face and as applied to

Plaintiff, for numerous and various reasons including but not limited to:

      a.     They are impermissible content-based restrictions on speech and

             expression that cannot pass muster under strict scrutiny;
                                          16
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20        PageID.17    Page 17 of 22




      b.     They are impermissible content-neutral restrictions and expression that

             cannot pass muster under intermediate scrutiny;

      c.     They fail to conform to the constitutional standards regarding

             obscenity;

      d.     They violate the doctrine of unconstitutional conditions; and

      e.     They are unconstitutionally vague under the vagueness standards for

             matters impacting speech and expression.

      50.    As a direct and proximate result of the unconstitutional aspects of the

Regulations and SOP and the Defendants’ and their delegates’ application of the

Regulations and the SOP against DV and its interests, DV, DV’s employees, and the

entertainers who perform on DV’s premises have suffered and will continue to suffer

irreparable injuries, including but not limited to financial ruin, business ruination,

and the inability to present protected First Amendment protected entertainment.

   COUNT II – THE REGULATIONS AND SOP VIOLATE THE FIFTH
                       AMENDMENT

      51.    Plaintiff incorporates herein by reference each and every paragraph

above as though fully set forth herein.




                                          17
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20        PageID.18   Page 18 of 22




      52.    The Regulations and the SOP violate and are contrary to the Fifth

Amendment of the United States Constitution, on their face and as applied to

Plaintiff, for numerous and various reasons including but not limited to:

      a.     They treat establishments presenting certain forms of performance

             dance entertainment, such as Plaintiff, differently from establishments

             presenting other forms of entertainment or no entertainment, for no

             compelling, important, or rational reason;

      b.     They treat workers at establishments presenting certain forms of

             performance dance entertainment, such as Plaintiff, differently from

             workers at establishments presenting other forms of entertainment or

             no entertainment, for no compelling, important, or rational reason;

      c.     They violate DV’s, its employees, and the entertainers’ who perform

             on its premises rights under the occupational liberty component of the

             Fifth Amendment.

      d.     They are impermissibly vague,

      53.    As a direct and proximate result of the unconstitutional aspects of the

Regulations and SOPS and the Defendants’ and their delegates’ application of the

Regulations and the SOP against DV and its interests, DV, DV’s employees, and the

entertainers who perform on DV’s premises have suffered and will continue to suffer
                                         18
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20          PageID.19    Page 19 of 22




irreparable injuries including but not limited to financial ruin, business ruination,

and the violation of the rights protected by the Fifth Amendment of the United States

Constitution.

   COUNT III – THE INVALIDITY OF THE REGULATIONS AND SOP

      54.    Plaintiff incorporates herein by reference each and every paragraph

above as though fully set forth herein.

      55.    Because it is clear and unambiguous as to which businesses are eligible

for PPP loans under the CARES Act, including this Plaintiff, the SBA lacked

authority to promulgate regulations with restricted or otherwise ‘clarified’ what

businesses were eligible for PPP Loans.

      56.    As a direct and proximate result of the invalid portions of the

Regulations and SOP and the Defendants’ and their delegates’ application of the

Regulations and the SOP against DV and its interests, DV, DV’s employees, and the

entertainers who perform on DV’s premises have suffered and will continue to suffer

irreparable injuries including but not limited to financial ruin and business ruination.

                              PRAYER FOR RELIEF

      WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests

this Honorable Court:



                                          19
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20         PageID.20    Page 20 of 22




      A.      Issue orders granting a Temporary Restraining Order, Preliminary, and

Permanent Injunction enjoining the Defendants, as well as their employees, agent

and representatives, including the SBA’s lending banks, from enforcing or utilizing

in any fashion or manner whatsoever, 13 C.F.R. § 120.110(p) and SBA SOP 50 10

5(K), Ch. 2(III)(A)(15) in regard to loan applications made pursuant to the Payroll

Protection Program of the CARES Act;

      B.     As part of those orders, order the Defendants, as well as their

employees, agent and representatives, to notify, as expeditiously as possible, all SBA

lending banks to immediately discontinue utilizing 13 C.F.R. § 120.110(p) and/or

SBA SOP 50 10 5(K), Ch. 2(III)(A)(15) as criteria for determining PPP loan

application eligibility, and to fully process all PPP loan applications without

reference to such regulations and procedures;

      C.     Also as part of those orders, order the Defendants, as well as their

employees, agent and representatives, including the SBA’s lending banks, to restore

Plaintiff to its place in the application queue as it was at the time of application in

the event that its application has already been formally denied, derailed, or paused

because of the challenged regulations and procedures challenged here;

      D.     Enter an award of attorneys’ fees and costs against the Defendants and

in favor of the Plaintiff; and
                                          20
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20   PageID.21   Page 21 of 22




      E.    Enter such other and further relief as this Court may find to be

warranted in these circumstances.

                                    Respectfully Submitted:

Dated: April 8, 2020                      /s/ Matthew J. Hoffer
                                    BRADLEY J. SHAFER (MI P36604)
                                    Brad@BradShaferLaw.com
                                    MATTHEW J. HOFFER (MI P70495)
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                                    3800 Capital City Boulevard, Suite 2
                                    Lansing, Michigan 48906
                                    (517) 886-6560
                                    Counsel for Plaintiff




                                      21
Case 4:20-cv-10899-MFL-DRG ECF No. 1 filed 04/08/20        PageID.22    Page 22 of 22




                      VERIFICATION OF COMPLAINT

       1.    I, Jason C-H Mohney am the Managing Member of DV Diamond Club

of Flint.

       2.    I make this verification upon my personal knowledge, unless

specifically stated to the contrary.

       3.    I have reviewed the foregoing PLAINTIFF’S VERIFIED COMPLAINT

FOR EMEGENCY TEMPORARY RESTRAINING ORDER, PRELIMINARY AND

PERMANENT INJUNCTIVE RELIEF, AND DECLARATORY RELIEF (the

“Complaint”) in its entirety.

       4.    The factual statements in the Complaint are true and accurate to the best

of my information, knowledge and belief.

       5.    Except, any matters stated to be upon “information and belief” I verily

believe to be true.

I VERIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS
TRUE AND CORRECT.


Executed on:
                                       By:    Jason C-H Mohney




                                         22
